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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,   DECLARATION OF JOSHUA M. STEIN IN
                                                   SUPPORT OF PLAINTIFFS’ MOTION FOR
  v.                                               LEAVE TO FILE THIRD AMENDED
                                                   CONSOLIDATED COMPLAINT
META PLATFORMS, INC.,

                                    Defendant.


                         DECL. OF JOSHUA M. STEIN IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE
                                                                        CASE NO. 3:23-cv-03417-VC
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       I, Joshua M. Stein, declare as follows:

       1.      I am an attorney duly licensed to practice in the State of California. I am a partner

in the San Francisco, California office of Boies Schiller Flexner, LLP (“BSF”), interim lead

counsel for Plaintiﬀs in the above-captioned action. I have personal knowledge of the matters

stated herein and, if called upon, I can competently testify thereto. I make this declaration pursuant

to 28 U.S.C. § 1746 and Local Rule 6-3 in support of Plaintiﬀs’ Motion for Leave to File Third

Amended Consolidated Complaint.

       2.      Attached as Exhibit 1 is a true and correct copy of a document produced by Meta

with a bates number of Meta_Kadrey_00128273.

       3.      Attached as Exhibit 2 is a true and correct copy of a document produced by Meta

with a bates number of Meta_Kadrey _00101613.

       4.       Attached as Exhibit 3 are selected transcript excerpts from the September 19, 2024

deposition of Todor Mihaylov.

       5.      Attached as Exhibit 4 is a true and correct copy of a document produced by Meta

with a bates number of Meta_Kadrey_00000078.

       6.      Attached as Exhibit 5 are selected transcript excerpts from the November 20, 2024

Rule 30(b)(6) deposition of Michael Clark.

       7.      Attached as Exhibit 6 are selected transcript excerpts from the November 13, 2024

Rule 30(b)(1) deposition of Michael Clark.

       8.      Attached as Exhibit 7 is a true and correct copy of a document produced by Meta

with a bates number of Meta_Kadrey_ 00089791.

       9.      Attached as Exhibit 8 is a true and correct copy of a document produced by Meta

with a bates number of Meta_Kadrey_00048149.

       10.     Attached as Exhibit 9 is a true and correct copy of a document produced by Meta

with a bates number of Meta_Kadrey_00101679.

       11.     Attached as Appendix A is Plaintiffs’ proposed Third Amended Consolidated

Complaint.


                          DECL. OF JOSHUA M. STEIN IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE
                                                                         CASE NO. 3:23-cv-03417-VC
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       12.    Attached as Appendix B is a redline comparing Plaintiffs’ proposed Third

Amended Consolidated Complaint against the operative Second Amended Consolidated

Complaint, Dkt. No. 133.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on the

27th day of November 2024 in San Francisco, California.


                                               By:             /s/ Joshua M. Stein _____
                                                                   Joshua M. Stein




                        DECL. OF JOSHUA M. STEIN IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE
                                                                       CASE NO. 3:23-cv-03417-VC
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